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  PETER C. ANDERSON                                                    FOR COURT USE ONLY
  UNITED STATES TRUSTEE
  Brian Fittipaldi, CA State Bar No. 137152
  Attorney for the United States Trustee
  1415 State Street, Room 148
  Santa Barbara, California 93101
  Telephone: (805) 957-4100; Facsimile (805) 957-4103
  Email: brian.fittipaldi@usdoj.gov

            UNITED STATES BANKRUPTCY COURT
             CENTRAL DISTRICT OF CALIFORNIA
                   NORTHERN DIVISION
  In re:
           Rosa Carmina Valladares,
                                                       Debtor.
  NOTICE OF MOTION AND MOTION UNDER 11 U.S.C.                          Chapter 7
  § 110 FOR DISGORGEMENT OF FEES AGAINST
  BANKRUPTCY PETITION PREPARER;                                        Case No. 9:19-bk-11357-DS
  MEMORANDUM OF POINTS AND AUTHORITIES;
  DECLARATION OF JOYCE HONG


    NOTICE IS HEREBY GIVEN that on the following date and time, in the following courtroom, the
United States Trustee shall and hereby does move this Court to enter an order under 11 U.S.C. § 110
for disgorgement of fees against Rosella Vera.

                           Hearing Date: October 10, 2019 Time: 11:00 a.m.
                           Location: Courtroom 201, U. S. Bankruptcy Court
                              1415 State Street, Santa Barbara, California

This motion is based upon this Notice of Motion and Motion, the attached Memorandum of Points
and Authorities and Declarations, the entire record in this case, and such other evidence and
argument as is presented at the time of the hearing.

PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule 9013-1(f) requires that any response
to this motion must be in writing, filed with the Clerk of the Court at the above address, and served on
the Office of the United States Trustee, at 1415 State Street, Room 148, Santa Barbara, CA 93101, no
later than fourteen (14) days before the hearing on this motion. Failure to file and serve any opposition
may result in the court failing to consider any such opposition.

Dated: August 29, 2019                           UNITED STATES TRUSTEE

                                                 By: /s/Brian Fittipaldi
                                                    Brian Fittipaldi
                                                    Attorney for the United States Trustee
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                          MEMORANDUM OF POINTS AND AUTHORITIES

I.           INTRODUCTION

          In 1994, in response to the proliferation of bankruptcy petition preparers nationwide,
Congress enacted Section 110 of the Bankruptcy Code 1 to protect consumers from abuses by non-
attorneys preparing bankruptcy documents. 11 U.S.C. § 110; see In re Fraga, 210 B.R. 812, 818-
19 (9th Cir. BAP 1997). Section 110 was designed to prevent petition preparers from taking "unfair
advantage of persons who are ignorant of their rights both inside and outside of bankruptcy
system." In re Agyekum, 225 B.R. 695, 701 (9th Cir. BAP 1998), quoting H.R. Rep. 103-834,
103rd Cong., 2nd Sess. 40-41 (Oct. 4, 1994), 140 Cong. Rec. H10, 770 (Oct. 4, 1994).
Accordingly, Congress established a set of requirements for bankruptcy petition preparers, granting
the Court specific authority to limit compensation, fine, and enjoin preparers who violate the Code.

           The Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 ("BAPCPA"),
effective October 17, 2005, amended § 110 in various ways that included an express prohibition on
offers of legal advice and provisions for enhanced penalties. In essence, the statute now allows
preparers to "only charge a fee for typing services." In re Bradshaw, 233 B.R. 315, 323 (Bankr.
D.N.J. 1999); see also In re McCarthy, 149 B.R. 162, 167 (Bankr. S.D. Cal. 1992).

II.          STATEMENT OF FACTS

          1.      On August 5, 2019, Rosa Carmina Valladares (the “Debtor”) filed a chapter 7
petition. Declaration of Joyce Hong (“Hong Dec.”), Exhibit A. 2

            2.     The Bankruptcy Petition Preparer’s Notice, Declaration, and Signature filed in
this case lists Rosella Vera as the bankruptcy petition preparer and appears to bear her signature
under penalty of perjury. Exhibit B.

          3.      Rosella Vera indicated in her Disclosure of Compensation of Bankruptcy Petition
Preparer that she received $250.00 for her services. Exhibit C.

            4.     In February 2003, the United States Trustee (“U.S. Trustee”) for the Central
District of California issued Amended Bankruptcy Petition Preparer Guidelines (“BPP
Guidelines"), to further the protection purposes of § 110. Preparers are requested to comply with
the BPP Guidelines, and are required to provide a copy of the BPP Guidelines to debtors and file a
signed copy with the Court. See United States Bankruptcy Court for the Central District of
California, Debtors – Don’t Have an Attorney at http://www.cacb.uscourts.gov/dont-have-attorney
(last visited May 6, 2013). The BPP Guidelines make clear that non-attorney, bankruptcy petition
preparers in the Central District may only type forms, and generally may charge no more than
$200.00 for all services and expenses (including any photocopying, postage, telephone, or other
charges).

             1
              Unless otherwise indicated, all chapter, section, and rule references are to the
      Bankruptcy Code, 11 U.S.C. §§ 101-1532, and the Federal Rules of Bankruptcy Procedure,
      Rules 1001-9037.
             2
                 All further references to exhibits herein are to exhibits to the accompanying Hong Dec.
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          5.     Thus, Respondent charged $50.00 more than the BPP Guidelines permit. There is
nothing unusual in this simple chapter 7 case to justify that excessive charge.

III.       ARGUMENT

A.         Standing and Jurisdiction

           This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and §§ 110 and
105. The U.S. Trustee has standing pursuant to § 307, which provides that the U.S. Trustee has
standing to be heard on any issue, in any case or proceeding under this title. Sections 110(h)(4),
110(i)(1), and 110(l)(3) expressly authorize the U.S. Trustee to move the Court for sanctions
against a bankruptcy petition preparer.

B.         Disgorgement Under 11 U.S.C. § 110

           1.      The Respondent is a Bankruptcy Petition Preparer

           Section 110 defines a “bankruptcy petition preparer” as a person “other than an attorney
for the debtor or an employee of such attorney under the direct supervision of such attorney, who
prepares for compensation a document for filing.” 11 U.S.C. § 110(a)(1). A “document for filing”
includes a bankruptcy petition or any other document prepared for filing by a debtor in the
Bankruptcy Court or District Court in connection with a case under Title 11. 11 U.S.C. § 110(a)(2).

           Here, Respondent is a bankruptcy petition preparer within the meaning of § 110(a)(1).
No attorney is identified on the bankruptcy documents as representing the Debtor in connection
with this case. See Exhibits A & D. Respondent prepares bankruptcy documents for filing, and in
this case prepared the Debtor’s chapter 7 bankruptcy documents for filing, for compensation of
$250.00. Exhibit C. Therefore, Respondent is a bankruptcy petition preparer within the meaning of
§ 110.

           2.      Respondent Collected Fees in Excess of the Value of the Services Provided

           Section 110(h)(2) requires a petition preparer to file a declaration under penalty of
perjury disclosing any fee received from or on behalf of a debtor within twelve (12) months
immediately prior to the filing of the petition, and any unpaid fee charged to the debtor. Under
§ 110(h)(3)(A), the Bankruptcy Court has the express authority to disallow any fee found to be in
excess of the value of any services rendered during the twelve (12) months before the date the
petition was filed, and shall order the immediate turnover of those fees. In any case in which the
preparer fails to comply with § 110(h) or with subsections (b), (c), (d), (e), (f), or (g), the court has
the authority to order the petition preparer to forfeit all fees charged.

          The BPP Guidelines make clear that non-attorney, bankruptcy petition preparers in the
Central District may only type forms, and generally may charge no more than $200.00 for all
services and expenses (including any photocopying, postage, telephone, or other charges). The
Southern, Eastern, and Northern Districts of California have all issued similar Guidelines. Such
Guidelines have been upheld as establishing presumptive “reasonable values” for consumer
bankruptcies. Agyekim, 225 B.R. at 699.

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          Thus, under normal circumstances, charges of more than $200.00 will be excessive for
the preparation services rendered. Disgorgement of all fees paid is appropriate where the services
had no value, or where the petition preparer has failed to comply with subsections (b) through (h) of
§ 110. 11 U.S.C. § 110(h)(3)(A); see Pillot, 286 B.R. at 162.

           Respondent collected $250.00 as payment for preparing and/or filing the petition and
schedules as set forth in the Disclosure of Compensation of Bankruptcy Petition Preparer. Exhibit
C. Respondent should be ordered to turn over any fees received in excess of the reasonable value of
the services performed with respect to this case. Specifically, Respondent should be ordered to turn
over the amount of $50.00 in excessive charges.

IV.       CONCLUSION

          There is no dispute that Respondent is a petition preparer who assisted the Debtor with
the preparation of the documents filed in this case, or that she charged the Debtor $250.00.

          WHEREFORE, the U.S. Trustee respectfully requests that this Court order immediate
turnover of any excess fee received from the Debtor (in the amount of at least $50.00) and order
such other and further relief as this Court deems just and proper.

DATED: August 29, 2019                          UNITED STATES TRUSTEE

                                                 By: /s/Brian Fittipaldi
                                                      Brian Fittipaldi
                                                      Attorney for the United States Trustee




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                               DECLARATION OF JOYCE HONG


I, Joyce Hong, declare,

1.        I am employed as a Bankruptcy Paralegal by the United States Trustee for the Central
          District of California, Region 16. I have personal knowledge of the facts set forth herein.

2.        A true and correct copy of the Court’s electronic docket for this case, which I printed
          from CM/ECF, is attached hereto as Exhibit A.

3.        A true and correct copy of the Bankruptcy Petition Preparer’s Notice, Declaration, and
          Signature filed in this case on August 5, 2019, is attached hereto as Exhibit B.

4.        A true and correct copy of the Disclosure of Compensation of Bankruptcy Petition
          Preparer filed in this case on August 5, 2019, is attached hereto as Exhibit C.

5.        A true and correct copy of the Debtor’s petition filed in this case on August 5, 2019, is
          attached hereto as Exhibit D.

         I declare under penalty of perjury that the foregoing facts are true and correct. Executed
on August 29, 2019, in Los Angeles, California.

                                                        ___________________
                                                         Joyce Hong




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                                Exhibit A
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                                                                                                              Incomplete, BPP


                                                 U.S. Bankruptcy Court
                                      Central District of California (Santa Barbara)
                                        Bankruptcy Petition #: 9:19-bk-11357-DS
                                                                                                Date filed:   08/05/2019
Assigned to: Deborah J. Saltzman                                                              341 meeting:    09/23/2019
Chapter 7                                                             Deadline for objecting to discharge:    11/22/2019
Voluntary                                                             Deadline for financial mgmt. course:    11/22/2019
No asset


Debtor                                                                    represented by Rosa Carmina Valladares
Rosa Carmina Valladares                                                                  PRO SE
531 Foxglove Place
Oxnard, CA 93036
VENTURA-CA
(805)307-6868
SSN / ITIN: xxx-xx-9213

Trustee
Sandra McBeth (TR)
7343 El Camino Real, #185
Atascdero, CA 93422
(805) 464-2985

U.S. Trustee
United States Trustee (ND)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017


  Filing Date                   #                                               Docket Text

                            1                  Chapter 7 Voluntary Petition for Individuals . Fee Amount $335 Filed by Rosa
                            (64 pgs; 2 docs)   Carmina Valladares Declaration by Debtors as to Whether Income was
                                               Received from an Employer within 60-Days of the Petition Date (LBR Form
                                               F1002-1) due by 8/19/2019. Incomplete Filings due by 8/19/2019. (Ortiz,
 08/05/2019                                    Amber) (Entered: 08/05/2019)

                            2                  Meeting of Creditors with 341(a) meeting to be held on 09/23/2019 at 10:00
                            (3 pgs)            AM at RM 148, 1415 State St., Santa Barbara, CA 93101. Objections for
                                               Discharge due by 11/22/2019. Cert. of Financial Management due by
                                               11/22/2019 for Debtor and Joint Debtor (if joint case) (Ortiz, Amber) (Entered:
 08/05/2019                                    08/05/2019)

                            3                  Statement About Your Social Security Number (Official Form 121) Filed by
 08/05/2019                                    Debtor Rosa Carmina Valladares . (Ortiz, Amber) (Entered: 08/05/2019)

                            4                  Declaration by Debtor as to Whether Debtor(s) Received Income From an
                            (2 pgs)            Employer Within 60 Days of Petition (LBR Form F1002-1) Filed by Debtor
                                               Rosa Carmina Valladares (RE: related document(s)1 Voluntary Petition
 08/05/2019                                    (Chapter 7)). (Ortiz, Amber) (Entered: 08/05/2019)

                            5                  Certificate of Credit Counseling Filed by Debtor Rosa Carmina Valladares .
 08/05/2019                 (1 pg)             (Ortiz, Amber) (Entered: 08/05/2019)

 08/05/2019                                    Receipt of Chapter 7 Filing Fee - $335.00 by 03. Receipt Number 90026349.
                                               (admin) (Entered: 08/05/2019)


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https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?515427141236531-L_1_0-1                                            8/28/2019
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                      6                   BNC Certificate of Notice (RE: related document(s)2 Meeting (AutoAssign
                      (4 pgs)             Chapter 7)) No. of Notices: 6. Notice Date 08/07/2019. (Admin.) (Entered:
 08/07/2019                               08/07/2019)

                      7                   BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                      (2 pgs)             (Chapter 7) filed by Debtor Rosa Carmina Valladares) No. of Notices: 1.
 08/07/2019                               Notice Date 08/07/2019. (Admin.) (Entered: 08/07/2019)

                      8                   Request for courtesy Notice of Electronic Filing (NEF) Filed by Fujimoto,
 08/09/2019           (1 pg)              Daniel. (Fujimoto, Daniel) (Entered: 08/09/2019)

                      9                   Request for courtesy Notice of Electronic Filing (NEF) Filed by Fujimoto,
 08/09/2019           (1 pg)              Daniel. (Fujimoto, Daniel) (Entered: 08/09/2019)




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                                               Transaction Receipt
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                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
address is: 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION
UNDER 11 U.S.C. § 110 FOR DISGORGEMENT OF FEES AGAINST BANKRUPTCY PETITION
PREPARER; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF JOYCE HONG
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On 8/29/2019, I checked the CM/ECF docket for this bankruptcy case or
adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
receive NEF transmission at the email addresses stated below:

                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 8/29/2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on N/A,
I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

  8/29/2019             Veronica M. Hernandez                        /s/ Veronica M. Hernandez
  Date                     Printed Name                              Signature
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                    SERVICE LIST FOR PROOF OF SERVICE

SERVED ELECTRONICALLY                           SERVED BY U.S. MAIL
Brian Fittipaldi brian.fittipaldi@usdoj.gov     The Honorable Deborah Saltzman
Daniel K Fujimoto wdk@wolffirm.com              United States Bankruptcy Court
                                                255 E. Temple Street, Suite 1634 / Courtroom 1639
Sandra McBeth (TR) jwalker@mcbethlegal.com,     Los Angeles, CA 90012
CA65@ecfcbis.com;ecf.alert+McBeth@titlexi.com
                                                Rosa Carmina Valladares
                                                531 Foxglove Place
                                                Oxnard, CA 93036

                                                Rosella Vera
                                                P.O. Box 51802
                                                Oxnard, CA 93031
